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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

RYAN SULLIVAN,                         §
Plaintiff                              §
                                       §     CIVIL ACTION NO. __________
vs.                                    §
                                       §
GC SERVICES, LP                        §
Defendant                              §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW Ryan Sullivan, hereinafter referred to as Plaintiff

complaining against GC Services, LP hereinafter referred to as Defendant and for

cause of action would respectfully show unto the Court as follows:

             NATURE OF THE ACTION AND JURISDICTION

1.    This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiff seeks to recover

monetary damages for Defendant’s violation of the FDCPA, the TDCPA and the

DTPA and to have an Order or injunction issued by this Court preventing
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Defendant from continuing its behavior in violation of the FDCPA. Jurisdiction of

this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is

proper before this Court as Plaintiff and/or Defendant reside in this District and/or

the complained of actions occurred in this District. Service may be made upon

Defendant in any other district in which it may be found pursuant to 29 U.S.C.

§1132(e)(2).

2.    Plaintiff, Ryan Sullivan, is a natural person.

3.    Defendant, GC Services, is a domestic corporation engaged in the business

of collecting debts by use of the mails and telephone, and Defendant regularly

attempts to collect debts alleged to be due another. Defendant is a “debt collector”

as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                                  FIRST COUNT

4.    At various and multiple times prior to the filing of the instant complaint,

including within the one hundred and fifty days preceding the filing of this

Complaint, Defendant contacted Plaintiff in an attempt to collect an alleged

outstanding debt. Defendant’s conduct violated the FDCPA in multiple ways,

including but not limited to:

      a. Engaging in conduct of which the natural consequence is to harass,

         oppress, or abuse, including causing Plaintiff’s telephone to ring with

         intent to annoy, abuse, or harass; (§1692 d);
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          b. Communicating with persons other than Plaintiff for purposes other

             than location and communicating specific information about the

             alleged debt owed; (§1692b(1) & (3));

          c. Being verbally abusive in connection with the collection of this

             alleged debt (calling Plaintiff a “deadbeat”); (§1692(d)(2)); and

          d. Making false and misleading representations regarding the character

             and status of the debt and/or threatening to take legal action that

             cannot be taken; (§1692e(2)).

5.     As a result of the above violations of the FDCPA, Plaintiff suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.



                         SECOND COUNT
     VIOLATION OF THE TEXAS DEBT COLLECTION PRACTICES ACT


6.     Plaintiff reincorporates by reference herein all prior paragraphs above.

7.     Defendant violated the Texas Debt Collection Practices Act in one or more

of the following ways:
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            a.     Causing     Plaintiff’s   Telephone   to   ring   repeatedly   or

            continuously, or making repeated or continuous telephone calls, with

            the intent to harass Plaintiff at the called number ion violation of Tex.

            Fin. Code §392.302(4);

            b.     Misrepresenting the character, extent, or amount of a consumer

            debt in violation of Tex. Fin. Code §392.304(a)(8));

            c.     Using profane or obscene language intended to abuse the

            Plaintiff by referring to Plaintiff as “ a deadbeat” in violation of Tex.

            Fin. Code §392.302(1);

            d.     Threatening to take an action prohibited by law in violation of

            Tex. Fin. Code §392.301(a)(8); and

            e.     Was otherwise deceptive and failed to comply with the Fair

            Debt Collection Practices Act.

8.    As a result of Defendant’s violations as aforesaid, Plaintiff suffered a

substantial disruption in her daily routine thus warranting an award of emotional

and/or mental anguish damages.

9.    Defendant’s aforementioned statutory violations also constitute an invasion

of Plaintiff’s right to privacy, causing additional injury to Plaintiff’s feelings,

mental anguish and distress.
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10.   As a result of the above statutory violations and invasion of privacy, Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental anguish and emotional distress, and Defendant is liable to

Plaintiff for Plaintiff’s actual damages, exemplary damages, statutory damages,

and costs and attorney’s fees.



                                  THIRD COUNT
                       VIOLATION OF THE TEXAS DECEPTIVE TRADE
                                 PRACTICES ACT


11.   Plaintiff reincorporates by reference herein all prior paragraphs above.

12.   This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiff

Protection Act and cited in this petition as the “DTPA”.

13.     Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

14.      Defendant made numerous material misrepresentations in an attempt to

collect the purported debt as detailed above.

15.   Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

16.   Defendant’s actions were done maliciously and in willful, wanton and
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reckless disregard for the rights of the Plaintiff.

17.      Defendant’s actions as detailed above constitute a violation of the Texas

Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

18.      The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff. Plaintiff’s damages include: Statutory damages of at

least $100.00 per violation, actual/economic damages, emotional and/or mental

anguish damages, exemplary/punitive damages, and Plaintiff’s attorneys’ fees and

costs.

19.      Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

20.       Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.



         WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be cited to appear and answer herein and upon final hearing hereof,

Plaintiff has judgment of and against Defendant as follows:
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(a)   a declaratory judgment be entered that Defendant’s conduct violated the

      FDCPA;

(b)   an award of actual damages;

(c)   an award of statutory damages pursuant to 15 U.S.C. § 1692k;

(d)   an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

      1692k; and,

(e)   a declaratory judgment be entered that Defendant’s conduct violated the

      Texas deceptive Trade Practices Act;

(f)   an award for all actual damages, exemplary damages, emotional/mental

      anguish damages and all statutory additional damages, all attorneys fees,

      costs of court, and pre-judgment and post-judgment interest at the highest

      lawful rates.

(g)   seeks an award of discretionary additional damages in an amount not to

      exceed three times the amount of economic damages if Defendant’s

      conduct is found to have been committed knowingly; or an amount not to

      exceed three times the amount of economic and mental anguish damages

      if Defendant’s conduct is found to have been committed intentionally.

(h)   such other and further relief as may be just and proper.
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                                              Respectfully submitted,


                                              By: /s/Susan Landgraf
                                              Susan Landgraf
                                              Texas State Bar # 00784702
                                              Attorney in Charge for Plaintiff

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                         CERTIFICATE OF SERVICE


I certify that on January 7th, 2008, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Houston
Division, using the electronic case filing system of the court.


                                                           /s/ Susan A. Landgraf___
                                                            SUSAN A. LANDGRAF
